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                              UN ITED STA TES DISTR ICT CO U RT
                                     DISTRICT O F NEVADA
 UNITED STATES OFAM ERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
                                                    )         2:10-CR-l76-KJD (PAL)
                                                    )
 JORDAN W ILLIAM S,                                 )
                                                    )
                        Defendant.                  )
                                FINAL ORDER OF FO RFEITURE
         O n Novem ber 12,2.010,the U nited States DistrictCourtforthe D istrictofNevada entered
 a Prelim inary OrderofForfeiture pursuantto Fed. R.Crim ,P.32.
                                                              2(b)(l)and(2)'
                                                                           ,Title18,United
 StatesCode,Section924(d)(l)andTitle28,UnitedStatesCode,Section2461(c,),basedupontheplea
 ofguilty by defendantJORD AN W ILLIAM S tocrim inaloffense, forfeiting specificpropertyalleged
 in the Indictm entand show n by the U nited States to have a requisite nexus to the offense to w hich
 defendantJORDAN W ILLIAM S pled guilty.#88.
         This Courtfinds the U nited States of Am erica published the notice of the forfeiture in
 accordance w'ith the law via the oflicial governm ent internet forfeiture site, w vrw .forfeiture.gov,
 consecutivelyfrom N ovem ber18,2010 through Decem ber17,20l0,notifying allknoBm third parties
 ofthtirrightto petition the Court./98.
         ThlsCourtfindsnopetition wastiledherein byoron behalfofany person orentity and tbe
 tim e fortiling suc.
                    h petitions and czlaim sbasexpired.
     Case 2:10-cr-00176-KJD-PAL          Document 106            Filed 03/18/11   Page 2 of 2




 l              ThisCourttindsno petitionsarepending w ith regard to the assetsnam ed herein and the tim e
 2!I
  .
         forpresentingsuchpetitionshasexpired.                                                               i
 3'             THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatalIright, '
     :
 4'
  1 title, and interestin the property hereinafterdescribed is condem ned,forfeited,and vested in the
  !I
  I                                                                                      j
 5:! United Statesof-America pursuantto Fed.R.Crim.P,32.2(b)(4)(A)and (B);Fed R.Crim .P. I  .

  tI
   t                                                                                                         !
 6!I 32.2(c)(2);Title18,UnitedStatesCode,Seetion924(d)(1)andTitle28,UnitedStatesCode,Section '
 7 2461(c);andTitle21,UnitedStatesCode,Section 853(n)(7)and shallbedisposedofaccordingto
 8 l                                                                                                         l
         aw :

 9                    (a)    aM ossbergM odel590 l2gaugeshotgun,serial#T619743;
10                    (b)    aSmith& W esson,.38caliberrevolver,serial#DAD9642;
11                    (c)    aTaurus.38caliberrevolver,serial#ZF53600;
12                    (d) Thirty-three(33)roundsofGoldDot.38caliberammunition;                               i
                                                                                                             1
l31                   (e) Two(2)roundsofRemington12gaugeshotgunammunition;and                                1
                                                                                                             j
  I
14                    (f)    anyand atlammunition    .
                                                                                                             1
                                                                                                             I
                                                                                                             1
15j             ITISFUR'
                       I'
                        HERORDERED,ADJUDGED,ANDDECREEDthatanyanda1lforfeited 1
16 funds,including butnotlim itcd to,currency,currency equivalents,certificatesofdeposit, aswellas k
                                                                                                   j
17 anyincomederivedasaresultoftheUnitedStatesofAmerica'smanagem entofanyproperty forfeited 2

181
  ' herein,and theproceedsfrom the sale ofany forfeitedproperty shallbedisposed ofaccording to law l
                                                                                                   :
                                                                                                        .



191         TheClerkisherebydirectedtosendcopiesofthisOrdertoa1lcounselofrecordandthrçe
  1
20 certified copies to the United StatesAttorney'sOffice.
21              DATED this       49     dayof l/l't,
                                                   c..'u-%-,&..-.e . 201l.
22                                                                 .
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23                                                  LTNITED STATESDlSTRICTJUDGE                              j E
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